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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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     PROXIMA BETA PTE. LIMITED,                    Case No. 2:21-cv-2056 MWF (MRWx)
  11 d/b/a “Tencent Games” a Singapore
  12 Corporation, and KRAFTON, INC., a             DEFAULT JUDGMENT AND
     Korea Corporation,                            PERMANENT INJUNCTION
  13
  14             Plaintiffs,
  15        v.
  16 ANDREW MARTIN a/k/a Asyhole;
     ANDRE SWIRSZCZUK a/k/a Girabaldi;
  17
     SAMAD AHMED a/k/a Samad Hossain
  18 a/k/a Haxsamad, a/k/a Sharpshooter
     Bangladesh and DOES 1 through 6,
  19
     inclusive,
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                 Defendants.
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             In accordance with the Court’s Order Granting Motion for Default
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       Judgment (Docket No. 49) and pursuant to Rules 54(b), 55(b)(2), 58(b)(2), and
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       65 of the Federal Rules of Civil Procedure,
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   1                IT IS HEREBY ORDERED, ADJUDGED AND DECREED that
   2   final judgment be entered in favor of Plaintiffs Proxima Beta Pte. Limited and
   3   Krafton, Inc., and against Defendant Andre Swirszczuk only as follows:
   4         1.     Damages
   5                Pursuant to 17 U.S.C. § 1203(b)(3) and 17 U.S.C. § 1203(c)(3)(A),
   6   Plaintiffs are hereby awarded damages in the amount of $9,525,000.00
   7         2.     Permanent Injunction
   8         A permanent injunction is entered as followed: Defendant Andre
   9   Swirszczuk, and all persons acting under his direction or control, including but not
  10   limited to his agents, subsidiaries, representatives, and employees, who receive
  11   notice of this Permanent Injunction by personal service or otherwise, are
  12   immediately and permanently enjoined from any and all of the following activities:
  13         (a) taking any steps on Defendant Swirszczuk’s own behalf or assisting
  14   others in distributing, advertising, marketing, selling, reselling, uploading,
  15   downloading, offering for sale, or otherwise disseminating in the United States any
  16   software whose use circumvents technological measures that control access to
  17   Plaintiffs’ games in the United States, or violates Proxima’s End User License
  18   Agreement and Terms of Use (collectively, “TOU”) with its U.S. customers,
  19   including but not limited to Sharpshooter or Cheatninja cheating software aimed at
  20   the mobile version of “Player Unknown’s Battlegrounds” (“PUBGM”) and any
  21   other software product designed to exploit or enable the exploitation of any game
  22   owned, published, or operated by Plaintiffs;
  23         (b) obtaining, possessing, accessing, or using in the United States any
  24   software whose use circumvents technological measures that control access to
  25   Plaintiffs’ games, or violates the TOU, including, but not limited to, Sharpshooter
  26   or Cheatninja cheating software aimed at PUBGM and any other software product
  27   designed to exploit or enable the exploitation of any game owned, published, or
  28   operated by Plaintiffs;

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   1          (c) assisting in any way with the creation or development in the United
   2   States of any software whose use circumvents technological measures that control
   3   access to Plaintiffs’ games, or violates the TOU, including, but not limited to,
   4   Sharpshooter or Cheatninja cheating software aimed at PUBGM and any other
   5   software product designed to exploit or enable the exploitation of any game
   6   owned, published, or operated by Plaintiffs;
   7          (d) publishing or distributing in the United States any source code or
   8   instructional material for the creation of any software whose use circumvents
   9   technological measures that control access to Plaintiffs’ games or violates the
  10   TOU, including, but not limited to, Sharpshooter or Cheatninja cheating software
  11   aimed at PUBGM and any other software product designed to exploit or enable the
  12   exploitation of any game owned, published, or operated by Plaintiffs;
  13          (e) selling, transferring, or assigning to any person or entity the intellectual
  14   property in any product (including the rights in any source code) whose use
  15   circumvents technological measures that control access to Plaintiffs’ games, or
  16   violates the TOU, including, but not limited to, Sharpshooter or Cheatninja
  17   cheating software aimed at PUBGM and any other software product designed to
  18   exploit or enable the exploitation of any game owned, published, or operated by
  19   Plaintiffs;
  20          (f) operating, assisting or linking to any website located in the United States
  21   or accessible to United States residents that is designed to provide information to
  22   assist others in accessing, developing, or obtaining any software whose use
  23   circumvents technological measures that control access to Plaintiffs’ games, or
  24   violates the TOS, including, but not limited to, Sharpshooter or Cheatninja
  25   cheating software aimed at PUBGM and any other software product designed to
  26   exploit or enable the exploitation of any game owned, published, or operated by
  27   Plaintiffs;
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   1         (g) investing or holding any financial interest in any enterprise which
   2   Defendants knows or has reason to know is now, or intends in the future to be,
   3   engaged in any activities in the United States that are prohibited by this Judgment
   4   and Permanent Injunction;
   5         (h) reverse engineering, decompiling, packet editing, or otherwise
   6   manipulating without authorization in the United States, any game owned,
   7   published, or operated by Plaintiffs or their subsidiaries, or providing assistance to
   8   any person or entity engaged in such activities.
   9         3.     Attorneys’ Fees and Costs
  10         Pursuant to 17 U.S.C. § 1203(b)(5) and Local Rule 55-3, Plaintiffs are
  11   awarded attorneys’ fees against Defendant in the amount of $194,100.00
  12         Pursuant to 17 U.S.C. § 1203(b)(4), Plaintiffs are further awarded costs in
  13   the amount of $13,917.42.
  14         Accordingly, judgment is entered in favor of Plaintiffs Proxima Beta Pte.
  15   Limited and Krafton, Inc., and against Defendant Andre Swirszczuk for damages,
  16   attorneys’ fees, and costs, in the total amount of $9,733,017.42.
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  19   Dated: November 10, 2021
  20                                            MICHAEL W. FITZGERALD
                                                United States District Judge
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